Case 1:21-cv-00751-DAE   Document 257-2   Filed 11/18/24   Page 1 of 4




                   EXHIBIT 1
    Case 1:21-cv-00751-DAE            Document 257-2          Filed 11/18/24     Page 2 of 4




From: Blackwood, Emma K.F.
Sent: Thursday, October 3, 2024 3:24 PM
To: Kevin Lavelle <KLavelle@rgrdlaw.com>
Cc: Caprez, Timothy <TCaprez@dykema.com>; Rachel Jensen <RachelJ@rgrdlaw.com>; Beidel,
Jennifer <JBeidel@dykema.com>
Subject: RE: WANG fourth Rolling Production

Kevin—

The court reporter information for Dr. Wang’s SEC testimonies is as follows:

       Volume 1 (August 22, 2023) – Barbara Moore, CRR, RMR, Registered Court Reporter, District
       of Columbia
       Volume 2 (March 20, 2024) – Jennifer Corb, Court Reporter and Notary Public,
       Commonwealth of Pennsylvania
I am currently addressing your other requests and anticipate providing responses by this time next
week.

Thanks,
Emma

From: Beidel, Jennifer <JBeidel@dykema.com>
Sent: Thursday, October 3, 2024 2:00 PM
To: Kevin Lavelle <KLavelle@rgrdlaw.com>
Cc: Blackwood, Emma K.F. <EBlackwood@dykema.com>; Caprez, Timothy <TCaprez@dykema.com>;
Rachel Jensen <RachelJ@rgrdlaw.com>
Subject: RE: WANG fourth Rolling Production

Emma is working on compiling the responses. She can give you a better timeline on completion than
I can. Thanks.


Jennifer L. Beidel
Member

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    Case 1:21-cv-00751-DAE            Document 257-2          Filed 11/18/24      Page 3 of 4


JBeidel@dykema.com ▪ dykema.com

BIO   VCARD LINKEDIN

39577 Woodward Avenue, Suite 300
Bloomfield Hills, Michigan 48304




From: Kevin Lavelle <KLavelle@rgrdlaw.com>
Sent: Thursday, October 3, 2024 2:10 PM
To: Beidel, Jennifer <JBeidel@dykema.com>
Cc: Blackwood, Emma K.F. <EBlackwood@dykema.com>; Caprez, Timothy <TCaprez@dykema.com>;
Rachel Jensen <RachelJ@rgrdlaw.com>
Subject: RE: WANG fourth Rolling Production


*** EXTERNAL***

Jennifer, as we have not head back from you on my below two emails, please kindly provide a
response by close of business tomorrow.

-Kevin


From: Kevin Lavelle
Sent: Friday, September 27, 2024 11:49 AM
To: 'Beidel, Jennifer' <JBeidel@dykema.com>
Cc: 'Blackwood, Emma K.F.' <EBlackwood@dykema.com>; 'Caprez, Timothy'
<TCaprez@dykema.com>; Rachel Jensen <RachelJ@rgrdlaw.com>
Subject: RE: WANG fourth Rolling Production

Jennifer, I am following-up on my email below. Could you kindly advise when the privilege log will be
provided, along with the other information requested? As the privilege log contains only a few
documents, please produce it as soon as possible, as we would like to get this resolved by a court
sooner rather than later.

We saw Dr. Wang’s settlement with the SEC yesterday. Could you please explain how Dr. Wang is
able to consent to the entry of an SEC order on the same subject matter as his SEC deposition
transcripts without admitting or denying the order’s findings, but is unable to produce the SEC
transcripts without admitting or denying their accuracy?

Relatedly, please also produce the May 14, 2020 email Dr. Wang used to un-blind himself in
Cassava’s Phase 2b trial, referenced in paragraph 19 of the September 26, 2024 Cease and Desist
Order, the spreadsheets referenced in paragraphs 22 and 27 of the order, and the documents
reflecting Dr. Wang’s ownership of Cassava stock referenced in paragraph 39 of the order. We
understood that Dr. Wang produced to Plaintiffs all documents produced to the government, but we
have been unable to locate these documents in his production. If we are mistaken, please identify


                                                  2
     Case 1:21-cv-00751-DAE             Document 257-2         Filed 11/18/24       Page 4 of 4


the Bates number of the document.

-Kevin


From: Kevin Lavelle
Sent: Tuesday, September 24, 2024 4:35 PM
To: 'Beidel, Jennifer' <JBeidel@dykema.com>
Cc: 'Blackwood, Emma K.F.' <EBlackwood@dykema.com>; 'Caprez, Timothy'
<TCaprez@dykema.com>; Rachel Jensen <RachelJ@rgrdlaw.com>
Subject: RE: WANG fourth Rolling Production

Jennifer,

On September 17th, you represented to me that you would provide a copy of Dr. Wang’s SEC
deposition transcript and exhibits by the end of the week, i.e., by September 20th. As we discussed
during our call today, Dr. Wang has now decided to assert his Fifth Amendment rights over the SEC
transcript documents based on the Act of Production doctrine and will not be producing them but
instead provide a privilege log for those documents. Please provide a date by which that log will be
provided.

On the call, we requested authority for the proposition that the production of the SEC transcripts to
Plaintiffs would be an admission of the transcripts’ accuracy. You were unable to cite any on the call
but, if you do find such authority, please let us know and we will consider it before filing any motion
to compel.

We further understand that Dr. Wang was represented by counsel at your firm during the SEC
depositions, that a court reporter was present, and that Dr. Wang has not reviewed the transcripts
for accuracy. Please let us know the name of the court reporter and their agency.

Finally, please confirm, as discussed during the call, that there have been no communications
between Dr. Wang, or his counsel, and Defendants, or their counsel, regarding the SEC transcripts.
Please also confirm whether or not there are communications more broadly between Dr. Wang’s
counsel and Defendants’ counsel regarding the issues in this case.

Please let us know if anything needs to be clarified.

-Kevin




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